                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION



 Luminati Networks Ltd.,

               Plaintiff,                             Civil Action No.
                                                    2:19-cv-00395-JRG
               v.
                                                        Lead Case
 Teso LT, UAB, Oxysales, UAB, and
 Metacluster LT, UAB,                             FILED UNDER SEAL

               Defendants.




                 OXYLABS’ RESPONSE IN OPPOSITION TO
      LUMINATI’S MOTION FOR SUMMARY JUDGMENT ON DEFENDANTS’
        COUNTERCLAIM AND DEFENSE OF INEQUITABLE CONDUCT



                                    SIEBMAN, FORREST,
                                    BURG & SMITH LLP

                                    MICHAEL C. SMITH

                                    CHARHON CALLAHAN
                                    ROBSON & GARZA, PLLC

                                    STEVEN CALLAHAN
                                    CRAIG TOLLIVER
                                    GEORGE T. “JORDE” SCOTT
                                    MITCHELL SIBLEY

                                    Counsel for Teso LT, UAB, Oxysales, UAB,
                                    and Metacluster LT, UAB

February 8, 2021
                                                TABLE OF CONTENTS

I.     Introduction ......................................................................................................................... 1
II.    Response To Luminati’s Statement Of Issue To Be Decided By The Court...................... 2
III.   Response To Luminati’s Statement Of Undisputed Material Facts.................................... 2
IV.    Additional Material Facts ................................................................................................... 2
V.     Summary Judgment Standard ............................................................................................. 4
VI.    The ’604 Patent Does Not Disclose The Material Information At Issue ............................ 4
VII.   Conclusion .......................................................................................................................... 6




                                                                    i
                                                TABLE OF AUTHORITIES

                                                                                                                                   Page(s)
CASES

LizardTech, Inc. v. Earth Resource Mapping, Inc.,
    424 F.3d 1336 (Fed. Cir. 2005)..................................................................................................6

Satterfield & Pontikes Constr., Inc. v. U.S. Fire Ins. Co.,
    898 F.3d 574 (5th Cir. 2018) .....................................................................................................4

Scott v. Harris,
   550 U.S. 372 (2007) ...................................................................................................................4

Therasense, Inc. v. Becton, Dickinson & Co.,
   649 F.3d 1276 (Fed. Cir. 2011)..........................................................................................1, 4, 5

RULES

Fed. R. Civ. P. 56(a) ........................................................................................................................4

Manual of Patent Examination Procedure § 2001.06(b) ..................................................................6




                                                                      ii
         Defendants Teso LT, UAB, Oxysales, UAB, and Metacluster LT, UAB (collectively,

“Oxylabs”) file this Response in Opposition to Luminati’s Motion for Summary Judgment on

Defendants’ Counterclaim and Defense of Inequitable Conduct (ECF No. 240) (the “Motion”),

and respectfully show as follows:

I.       INTRODUCTION

         Luminati raises a single issue in the Motion—whether the information Luminati withheld

from the examiner of United States Patent No. 10,469,614 (the “’614 patent”) was material to

patentability. Luminati’s argument is premised entirely on the assumption that claim 1 of United

States Patent No. 10,257,319 (the “’319 patent”) is disclosed by the specification. However, the

’319 patent does not provide any disclosure of the method claimed by claim 1 of the ’319 patent.

         Oxylabs has challenged Luminati throughout this entire litigation to explain where this

method is disclosed. Despite annotating and modifying Figure 3 of the ’319 patent in every manner

imaginable—including equating communication devices to servers, splicing in the prior art, and

omitting necessary components of the invention—Luminati has failed to direct the Court and

Oxylabs to any disclosure of the claimed method. The specification of the ’319 patent does not

disclose the claimed method, and therefore claim 1 itself is the only disclosure of Luminati’s

contention that it invented this subject matter in 2009. There is no dispute that the Examiner of the

’614 patent did not have this information available to him. Accordingly, a genuine issue of material

fact exists as to whether Luminati omitted information material to patentability.1




     1
       Luminati appears to acknowledge that genuine issues of material fact exist as to
Therasense’s intent prong, as it does not argue otherwise in the Motion. Therasense, Inc. v. Becton,
Dickinson & Co., 649 F.3d 1276, 1287 (Fed. Cir. 2011).

                                                 1
II.    RESPONSE TO LUMINATI’S STATEMENT OF ISSUE TO BE DECIDED BY
       THE COURT

       Luminati’s Motion raises one issue for the Court to decide:
       1. Whether Luminati’s failure to disclose the ’319 patent to the Examiner of the ’614
          patent presents a genuine issue of material fact as to materiality, where the information
          material to patentability—Luminati’s contention that it invented the subject matter
          claimed by claim 1 of the ’319 patent in 2009—is not contained in other information
          provided to the Examiner, including the specification of the ’319 patent.

III.   RESPONSE TO LUMINATI’S STATEMENT OF UNDISPUTED MATERIAL
       FACTS

       Oxylabs admits Luminati’s Statement of Undisputed Material Fact (“SUF”) Nos. 1-3 and

5-6. Oxylabs is unable to admit or deny Luminati’s SUF No. 4 because it is unintelligible, stating:

“The specification of the ’614 Patent the ’604 Patent by reference stating.” If Luminati meant to

state that the ’614 patent incorporates United States Patent No. 8,560,604 (the “’604 patent”) by

reference, Oxylabs does not dispute this.

IV.    ADDITIONAL MATERIAL FACTS (“AMF”)

       1.      Claim 1 of the ’319 patent does not appear in any other Luminati patent, including

the ’604 patent.

       2.      The ’319 patent was not disclosed in the prosecution of the ’614 patent.

       3.      At the time the ’614 patent issued, there were twenty pending applications and

issued patents in the ’319 patent’s family. ECF No. 119 at 4. Luminati disclosed just one of those

to the Examiner of the ’614 patent: the ’604 patent, which issued on October 15, 2013. ECF No.

109 at 15. Luminati did not provide the Examiner of the ’614 patent with any information regarding

the other nineteen applications and patents. ECF No. 119 at 4. While the specification of each

application and patent is the same, the claims necessarily are not identical.

       4.      The limitations of claim 1 of the ’433 application, which issued as the ’614 patent,

were rejected by the Examiner as obvious in view of several prior-art references. Ex. 1 (’433

                                                 2
application, June 27, 2019 Office Action) at 9-11.

       5.        The rejections to claim 1 were not traversed, and claim 1 was instead amended to

add the limitations of claim 29, which were objected to as allowable if rewritten in independent

form. Id. at 2; Ex. 2 (’433 application, July 26, 2019 Office Action Response) at 2-3, 8.

       6.        There is no disclosure of a server–client device–web server architecture in the ’319

specification.

       7.        There is no disclosure in the ’319 patent of any device, other than a communication

device acting in the role of a Client, sending a content identifier to a communication device acting

in the role of an Agent. There is no disclosure in the ’319 patent of the acceleration server sending

a URL to any device, much less a communication device acting in the role of an Agent.

       8.        There is no disclosure in the ’319 patent of any device, other than a communication

device acting in the role of an Agent, sending a URL to a web server. There is no disclosure in the

’319 patent of a communication device acting in the role of an Agent sending a URL to a web

server without first checking whether the communication device acting in the role of an Agent or

communication device acting in the role of a Peer have the content identified by the URL stored

in its cache. If a communication device acting in the role of an Agent discovers that it or a

communication device acting in the role of a Peer has a valid copy of the content identified by the

URL stored in their cache, no request will be made to the web server for the content. No other

method is disclosed in the ’319 patent.

       9.        The specification of the ’319 patent specifically teaches away from the use of prior-

art proxy servers. ’319 Pat. at 2:24-39. There is no disclosure in the ’319 patent of any prior-art

proxy server being used in the claimed invention, much less sending a URL to a communication

device acting in the role of an Agent.



                                                   3
       10.     Luminati previously represented to the Court on multiple occasions that the “second

server” of the ’319 patent was a communication device acting in the role of a Client. ECF No. 126

at 4; see also ECF No. 28 at 15-16. Luminati also argued to the Court that that “the originator of

[the] request[,]” i.e., the “second server” of the ’319 patent, could “be a client device, a consumer

device, it could also be a server[,]” Ex. 3 (Claim Construction Hr’g Tr.) at 12:2-5.

V.     SUMMARY JUDGMENT STANDARD

       To prevail with its Motion, Luminati must demonstrate that (i) there is no genuine dispute

as to any material fact and (ii) Luminati is entitled to judgment as a matter of law. See Fed. R. Civ.

P. 56(a). “A genuine dispute as to any material fact precludes summary judgment.” Satterfield &

Pontikes Constr., Inc. v. U.S. Fire Ins. Co., 898 F.3d 574, 578 (5th Cir. 2018). On summary

judgment, courts view the evidence in the light most favorable to the non-movant (here, Oxylabs).

See, e.g., Scott v. Harris, 550 U.S. 372, 378 (2007).

VI.    THE ’604 PATENT DOES NOT DISCLOSE THE MATERIAL INFORMATION
       AT ISSUE

       Luminati suggests that, because there was apparently a pre-Therasense “plague” of

baseless inequitable-conduct claims, Oxylabs’ inequitable conduct claim must necessarily lack

merit. Mot. at 5. Therasense raised the standard of pleading and proving inequitable conduct—it

did not abolish the defense. Instead, it preserved it for appropriate circumstances like those before

the Court. Contrary to Luminati’s suggestions, Oxylabs has raised inequitable conduct just a single

time over the course of three separate cases Luminati filed against Oxylabs alleging infringement

of seven different patents. As Oxylabs explained in response to Luminati’s previous attempt to

dismiss Oxylabs’ inequitable conduct claim, Luminati buried information material to patentability

in a haystack of nineteen pending applications in the same family as the ’319 patent, yet provided

just one of these applications to the different Examiner of the ’614 patent. AMF Nos. 2-3; ECF


                                                  4
No. 119 at 4. Therasense preserved the inequitable conduct defense for situations where a patentee

or its patent attorney deliberately withhold or hide information material to patentability from an

Examiner. That is exactly what happened here.

       Luminati does not dispute that it withheld these nineteen other patents and applications

from the Examiner. Luminati does not even appear to suggest that the Examiner of the ’614 patent

should have been aware of the claims and prosecution of all nineteen applications. Rather,

Luminati argues that it did not need to disclose anything more than the ’604 patent because

continuation and divisional applications and patents are per se cumulative since they share the

same specification as their parent. Further, according to Luminati, since claims should satisfy the

written description requirement to be granted, any issued claim is per se cumulative of the parent

application.

       Luminati’s argument fails. To begin with, as Dr. Freedman explained in a portion of his

report Luminati omitted from the Motion, there is no question that the steps of claim 1 of the ’319

patent are nearly identical to those of claim 29 of the ’433 application. Ex. 4 (excerpt2 of Freedman

Rep.) at ¶ 364. Claim 1 of the ’319 patent is not cumulative of the ’604 patent, or even the

specification of the ’319 patent. As explained by Dr. Freedman, the ’319 patent does not disclose

the claimed method of claim 1 of the ’319 patent. Id. at ¶¶ 311-314; AMF Nos. 6-10. There simply

is no disclosure in the ’319 patent of any server using a client device as an intermediary to obtain

content from a web server. Oxylabs has challenged Luminati throughout the litigation to explain

where in the ’319 patent there is a disclosure that would demonstrate that the inventors were in

possession of the claimed invention at the time of the application. LizardTech, Inc. v. Earth



   2
     Dr. Freedman’s full report is attached as Exhibit 4 to ECF No. 277 (Oxylabs’ Motion for
Summary Judgment of Invalidity).

                                                 5
Resource Mapping, Inc., 424 F.3d 1336, 1344-45 (Fed. Cir. 2005). Luminati has failed to do so

despite discovery being closed and this case being just three months from trial. Thus, claim 1 of

the ’319 patent—and not the specification—is where Luminati represents that it disclosed the

subject matter in question in 2009—which is the exact allowable subject matter that led to the

issuance of the ’614 patent. AMF Nos. 4-5.

       Finally, MPEP § 2001.06(b) exists to prevent Luminati’s conduct. Luminati argues that

this section does not require it to cross-cite co-pending continuations because they would be

merely cumulative. Not only does this argument fail because claim 1 of the ’319 patent is not

cumulative of the specification of the ’604 patent, but Luminati’s position is also contrary to the

purpose of Section 2001.06(b): “[T]he applicant has the burden of presenting the examiner with a

complete and accurate record to support the allowance of letters patent.” Id. (quoting Armour &

Co. v. Swift & Co., 466 F.2d 767, 779 (7th Cir. 1972)). Further:

       [T]he individuals covered by 37 CFR 1.56 cannot assume that the examiner of a
       particular application is necessarily aware of other applications which are “material
       to patentability” of the application in question, but must instead bring such other
       applications to the attention of the examiner . . . . if a particular inventor has
       different applications pending which disclose similar subject matter but claim
       patentably indistinct inventions, the existence of other applications must be
       disclosed to the examiner of each of the involved applications.

Id. By withholding other applications that are material to patentability—including one that

discloses Luminati’s contention that it invented the same subject matter four years before the

claimed priority date of the ’614 patent—Luminati deprived the examiner of a complete and

accurate record and violated its duty of candor.

VII.   CONCLUSION

       For these reasons, the Court should deny Luminati’s Motion.




                                                   6
Dated: February 8, 2021   Respectfully submitted,



                          MICHAEL C. SMITH
                           Texas State Bar No. 18650410
                           michaelsmith@siebman.com
                          SIEBMAN, FORREST,
                          BURG & SMITH LLP
                          113 East Austin Street
                          Marshall, Texas 75671
                          Telephone: (903) 938-8900
                          Telecopier: (972) 767-4620

                          STEVEN CALLAHAN
                           Texas State Bar No. 24053122
                           scallahan@ccrglaw.com
                          CRAIG TOLLIVER
                           Texas State Bar No. 24028049
                           ctolliver@ccrglaw.com
                          GEORGE T. “JORDE” SCOTT
                           Texas State Bar No. 24061276
                           jscott@ccrglaw.com
                          MITCHELL SIBLEY
                           Texas State Bar No. 24073097
                           msibley@ccrglaw.com
                          CHARHON CALLAHAN
                          ROBSON & GARZA, PLLC
                          3333 Lee Parkway, Suite 460
                          Dallas, Texas 75219
                          Telephone: (214) 521-6400
                          Telecopier: (214) 764-8392

                          Counsel for Teso LT, UAB, Oxysales, UAB,
                          and Metacluster LT, UAB




                             7
                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a) on February 8, 2021. As such, this document was served on
all counsel who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).
The foregoing document has also been served on Luminati’s counsel, Sunny Cherian, Esq., by e-
mail on February 8, 2021.


                                                                           .
                                            STEVEN CALLAHAN


                    CERTIFICATE OF AUTHORIZATION TO SEAL

       The undersigned certifies that the foregoing pleading is filed under seal pursuant to the
Court’s Protective Order.




                                            STEVEN CALLAHAN




                                               8
